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                   United States Court of Appeals
                              FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________


No. 23-5110                                                  September Term, 2023
                                                                        1:21-cv-02380-BAH
                                                    Filed On: February 16, 2024 [2041056]
People for the Ethical Treatment of
Animals, et al.,

                Appellants

         v.

Lawrence A. Tabak, in his official capacity
as Acting Director of the National Institutes
of Health and Xavier Becerra, in his official
capacity as Secretary of the U.S.
Department of Health and Human Services,

                Appellees

                                          ORDER

       It is ORDERED, on the court's own motion, that this case be scheduled for oral
argument on April 25, 2024, at 9:30 A.M. The composition of the argument panel will
usually be revealed thirty days prior to the date of oral argument on the court's web site
at www.cadc.uscourts.gov.

         The time and date of oral argument will not change absent further order of the
Court.

         A separate order will be issued regarding the allocation of time for argument.

                                                           FOR THE COURT:
                                                           Mark J. Langer, Clerk

                                                   BY:     /s/
                                                           Michael C. McGrail
                                                           Deputy Clerk

The following forms and notices are available on the Court's website:

         Memorandum to Counsel Concerning Cases Set for Oral Argument (Form 71)
